       Case 1:25-cv-00799-RCL          Document 67       Filed 07/03/25      Page 1 of 3




                           UNITED STATES DISTRICT COURT
                               DISTRICT OF COLUMBIA


 RFE/RL, INC.,

                       Plaintiff,

        v.
                                                        No. 25-cv-00799-RCL
 KARI LAKE, in her official capacity, et al.,

                       Defendants.


                             DEFENDANTS’ STATUS REPORT

       The Defendants respectfully this status report pursuant to the Court’s July 1, 2025, Order.

RFE/RL’s payment is now fully approved and processed through USAGM, as reflect in the

screenshot below:




This payment been submitted to Treasury for review and approval as part of a list of payments

known as a “bulk schedule.” The following screenshot confirms that the bulk schedule was

successfully transmitted to Treasury today:
       Case 1:25-cv-00799-RCL          Document 67        Filed 07/03/25     Page 2 of 3




Once Treasury approves the package, which takes about two business days, USAGM will upload

the final disbursement information into the Secure Payment System where a disbursement is made

within one day of submission. Confirmation of the deposit should appear in RFE’s bank by Friday,

July 11, unless the federal holiday adds processing time. In that case, at latest, the funds would

arrive by Monday, July 14.




Dated: July 3, 2025                          Respectfully submitted,


                                             BRETT A. SHUMATE
                                             Assistant Attorney General

                                             ERIC J. HAMILTON
                                             Deputy Assistant Attorney General
                                             Civil Division, Federal Programs Branch

                                             JOSEPH E. BORSON
                                             Assistant Branch Director
                                             Federal Programs Branch

                                             /s/_Abigail Stout____________
                                             ABIGAIL STOUT
                                             (DC Bar No. 90009415)
                                             Counsel
                                             U.S. Department of Justice
                                             Civil Division


                                             /s/_Julia A. Heiman____________
                                             JULIA A. HEIMAN (D.C. Bar No. 986228)
                                             Federal Programs Branch
                                             U.S. Department of Justice, Civil Division
                                             1100 L Street, N.W.
                                             Washington, DC 20005
                                             Tel. (202) 616-8480 / Fax (202) 616-8470
                                             julia.heiman@usdoj.gov

                                             Attorneys for Defendants

                                                2
Case 1:25-cv-00799-RCL   Document 67   Filed 07/03/25   Page 3 of 3




                               3
